Case 5:20-cv-02636-JLS-SHK   Document 2-1   Filed 12/23/20   Page 1 of 12 Page ID
                                    #:10




                             Exhibit “1”
        Case 5:20-cv-02636-JLS-SHK                                               Document 2-1                          Filed 12/23/20                        Page 2 of 12 Page ID
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BANK
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          AMEBIC CORPORATION,
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                                     a Delaware              G4S SECURE SOLUTIONS,
                                                  CorporationG4S        SOLUTIONS, a
Florida Corporation, andDOES
Florida Corporation,    DOES 11through
                                through50,
                                        50, Inclusive,
                                            inclusive,                                                                                                                     10/29/2020
                                                                                                                                                                             Nakagawa
                                                                                                                                                                          C. Nakagawa
          BEING SUED BY
YOU ARE BEING        BY PLAINTIFF:
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(LO ESTA DEMANDANDO
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JACOB LEE GAMBLE,
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         Main Street        Riverside, CA    CA 92501                                                                                                          RIC2004308
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                                                  NOTICE TO THE PERSON SERVED: You are served
                                                   1.             as an Individual defendant.
                                                  2. F-1 as the person sued under the fictitious name of (specify):
                                                  3.rvi on behalf of (specify): G4S SECURE SOLUTIONS, a Florida Corporation
                                                     under:171 CCP 416.10 (corporation)                                                         I-1•CCP 416.60 (minor)
                                                           r --1 CCP 416.20 (defunct corporation)                                               ni•CCP 416.70 (conservatee)
                                                           niCCP 416.40 (association or partnership)                                            1-1 CCP 416.90 (authorized person)
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                                                                                      Superior Court of California
         KNEZ LAW GROUP, LLP                                                           "pCountcytyo Riverside
                                                                                      S County of Riverside
       1 FRED J. KNEZ,
                  KNEZ,ESQ.ESQ.SBN
                                 SBN 94038
                                      94038                                                10/29/2020
         ANDREW J. KNEZ,
                       KNEZ,ESQ.     SBN 296894
                               ESQ.SBN    296894                                              Nakagawa
                                                                                          C. Nakagawa
      2 MATTHEW J.J.KNEZ,
      21                 KNEZ,ESQ.
                                 ESQ.SBN
                                       SBN 303070
                                            303070                                        Electronically Filed
                                                                                          Electronically Filed
         6780 indiana Ave.,
         6780 Indiana  Ave., Suite
                             Suite 150
                                   150
      3 Riverside, CA 92506
         Telephone: (951)
                     (951) 742-7681
                           742-7681
      4 Facsimile: (951)
                    (951) 742-7685
                          742-7685
         Email: info@knezlaw.com
      5
       6                 Plaintiff, JACOB
           Attorneys for Plaintiff, JACOB LEE GAMBLE
       7
       8                       SUPERIOR COURT OF
                                              OF THE STATE CALIFORNIA
                                                 THESTATE  CALIFORNIA
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      9~
                                       FOR THE COUNTY OF
                                           THE COUNTY OF RIVERSIDE
                                                         RIVERSIDE
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      11   JACOB LEE GAMBLE,                               CASE No.:
                                                                No.: RIC2004308
                                                                     R1C2004308
      12                       Plaintiff,
                                                           COMPLAINT FOR DAMAGES
      13         v.
                 V.
                                                           1. NEGLIGENCE
      14    BANK OF
            BANK  OF AMERICA
                       AMERICA CORPORATION, a              2. INTENTIONAL INFLICTION OF
            Delaware Corporation; G4S
            Delaware Corporation;   G4S SECURE                EMOTIONAL DISTRESS
      15 II SOLUTIONS, a Florida Corporation; and
            DOES 1l through
                     through 50,
                              50, inclusive,
                                   inclusive,
      16
                               Defendants.
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      18
                                             GENERAL ALLEGATIONS
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      21

      22      ndant DOE wrongfully caused plaintiff injury and
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                                                               damage.

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                                             COMPLAINT

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Case 5:20-cv-02636-JLS-SHK                 Document 2-1         Filed 12/23/20     Page 4 of 12 Page ID
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                                                                                          joint venturer;
                                                                                                venturer;

 3        nd/or that
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                     saidDefendant
                          Defendantapproved  supported,participated
                                    approvedsupported,  participatedin,
                                                                     in,authorized  and/orratified
                                                                         authorizedand/or  ratified the
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          nd/or omissions
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                          ofsaid
                             saidemployees,  agents,servants,
                                  employees,agents,  servants,conspirators
                                                               conspiratorsand/or   joint venturers.
                                                                            and/or joint  venturers.
 5
                3.
                3.                is aa resident
                        Plaintiff is    resident of
                                                 of the
                                                     the County
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                                                                ofRiverside, State of
                                                                  Riverside, State of California.
 6
                4.      Plaintiff is
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 8   ID efendant, BANK
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                       OFAMERICA
                         AMERICACORPORATION  ("BOFA"),isisaaDelaware
                                 CORPORATION("BOFA"),                Corporation licensed
                                                            DelawareCorporation  licensed

 9 o do business
        business in
                  inthe
                     theState
                         Stateof
                               ofCalifornia
                                  Californiaand  engagedininbusiness
                                             andengaged               ofbanking
                                                             businessof          inthe
                                                                         bankingin  theCounty
                                                                                       County of
                                                                                              of
10
          iverside, State of California.
11
                5.
                5.•     Plaintiff is
                        Plaintiff  is informed
                                       informedand
                                                andbelieves
                                                    believesand
                                                             andupon
                                                                 uponsuch  informationand
                                                                      suchinformation  andbelief alleges that
                                                                                          belief alleges
12
13   ID efendant, G4S
                  G4SSECURE
                      SECURESOLUTIONS
                             SOLUTIONS("G4S"),
                                       ("G4S"),isisa aFlorida  Corporationlicensed
                                                       FloridaCorporation               dobusiness
                                                                           licensedtotodo  business it

14    he State
         State of
               of Califomia
                  Californiaand
                             andengaged
                                 engagedininbusiness
                                             businessofofsecurity      theCounty
                                                          securityininthe  Countyof
                                                                                  ofRiverside, State of
                                                                                    Riverside, State of
15        alifornia.
             fornia.
16
                6.
                6.      On March
                        On March 25,
                                 25,2019,
                                     2019,Plaintiff enteredBOFA
                                          Plaintiffentered  BOFAlocated
                                                                 locatedatat9204 Magnolia Ave.,
                                                                            9204IVlagnolia Ave.,
17
          iverside,
           verside, California.
                    California.Plaintiff
                                Plaintiffentered
                                          enteredBOFA
                                                  BOFAwith
                                                       withhis  clientand
                                                            hisclient      stoodininline
                                                                       andstood           tospeak
                                                                                     lineto         to aa teller.
                                                                                             speak to     teller.
18
19          ile standing
                standing in
                          inline,
                             line,an
                                   anunknown
                                      unknownindividual
                                              individual("DOE
                                                         ("DOE1"),
                                                               1"),who
                                                                    whowas  standingin
                                                                        wasstanding     frontof
                                                                                     infront of Plaintiff
                                                                                                Plaintiff

20   le   egan to
               to stare
                  stare angrily
                        angrilyatatPlaintiff:
                                    Plaintiff.Plaintiff  askedDOE
                                               Plaintiffasked  DOE1"how
                                                                   1 "howare  youdoing."
                                                                          areyou  doing."DOE
                                                                                         DOE I1 responded
                                                                                                responded
21
      `Good,real
             realgood.
                  good.Actually,
                        Actually,a awhole
                                     wholelot
                                           lotbetter
                                               betternow."
                                                      now."DOE
                                                            DOE1 1continued
                                                                   continuedtotostare
                                                                                 stareatatPlaintiff with an
                                                                                          Plaintiff with
22
          ngered look.
                  look. DOE
                        DOE11began
                              begantototalk
                                        talktotohimself
                                                 himselfand
                                                         andbegan
                                                             begantotoraise
                                                                       raisehis  voice.DOB
                                                                             hisvoice.       began shouting
                                                                                       DOE11began  shouting
23
      `Manfuck
           fuckthis
                thisfool
                     foolMarcus."
                          Marcus.""Can't
                                   "Can'tbelieve
                                          believethis
                                                  thisfool
                                                       foolright   now.""I"Iswear
                                                             rightnow."      swearififIIsaw  him, II would
                                                                                         sawhim,     would pi
                                                                                                           piss
24
25        n his
            his face."
                face." DOE
                       DOE11was
                            wasmoving
                                movinghis
                                       hishands
                                           handsaround
                                                 aroundfrantically  whileshouting.
                                                        franticallywhile  shouting.DOE    then walked
                                                                                   DOE11 then  walked

26 gutof
       ofline.
          line.Plaintiff
                Plaintiffthen
                           thenwalked
                                walkedtotothe    tellerand
                                            theteller   andDOE
                                                            DOE1 1walked        towardPlaintiff.
                                                                          backtoward
                                                                   walkedback          Plaintiff The
                                                                                                 The teller
27
          topped mid-sentence
                 mid-sentenceand
                              andobserved
                                  observedDOE
                                           DOE11approach
                                                 approachPlaintiff.
                                                          Plaintiff.DOE    thenshouted:
                                                                     DOE11then  shouted:"I was next!"
                                                                                         "Iwas next!"
28


                                            COMPLAINT FOR DAMAGES
                                            COMPLttINT    DAMAGES

                                                          -2-
                                                          -2-
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                                              #:14



      laintiff               DOE11and
               apologizedtotoDOE
        intiff apologized              DOE1 1responded:
                                   andDOE     responded:"Yeah,  okay.Don't
                                                         "Yeah,okay.  Don't know what happened
                                                                            know what
 1
 2    ere."
          i1J




 3              7.   The teller
                     The teller then
                                 then directed
                                      directedPlaintiff  andhis
                                               Plaintiffand  hisclient
                                                                 clienttotospeak
                                                                            speakto    personal banker
                                                                                  toaapersonal  banker at
                                                                                                       at aa desl
                                                                                                             desk
 4
      ithin     bank near
         in the bank nearthe
                          thenorth  exitofofthe
                              northexit      thebank.  Plaintiffsat
                                                 bank.Plaintiff      downatataadesk
                                                                 satdown        deskclose
                                                                                     closeto
                                                                                           tothe northexit
                                                                                              thenorth exit of
                                                                                                            of
 5
     he bank.
        bank. DOE
              DOE 11then
                     thenapproached
                          approachedPlaintiff
                                     Plaintiffand   leaneddown
                                               andleaned        closetotoPlaintiff
                                                           downclose               s face
                                                                          Plaintiff's      and shouted:
                                                                                      face and shouted:
 6
   Man, who
        who are you."
                you." Plaintiff
                      Plaintiffresponded:  "I'mJake."
                                responded:"I'm  Jake."DOE
                                                      DOE11responded:
                                                            responded:"Jake  who?" Plaintiff
                                                                       "Jake who?" Plaintiff
 7
 8   esponded: "Jake
               "JakeGamble." DOE11then
                     Gamble."DOE   thenraised
                                        raisedhis
                                               hisvoice  andshouted:
                                                   voiceand  shouted:"Where
                                                                      "Where are you from?"
                                                                             are you from?"

 9    laintiff looked around
            ff looked aroundthe
                             thebank
                                 bankand  couldobserve
                                      andcould  observebank  employeesobserving
                                                        bankemployees  observingthe   situation. DOE
                                                                                 the situation.  DOE 1
10
     hen began
         began to
               to shout
                  shoutatatPlaintiff
                           Plaintiffasking  himtotofight
                                     askinghim      fightDOE
                                                          DOE1.1.Plaintiff  responded that
                                                                  Plaintiffresponded   that he will not
                                                                                            he will not fight
11
     lb OE 1. Plaintiff
              Plaintiffobserved
                        observedaasecurity
                                   securityguard   standingoutside
                                            guardstanding   outsidethe
                                                                     thenorth  exitlooking
                                                                         northexit              Plaintiffss
                                                                                    lookingininPlaintiff
12
13    irection         thewindow.
               throughthe
       rection through    window.Plaintiff
                                  Plaintiffobserved  theteller
                                            observedthe  telleropen
                                                                openthe  northdoor
                                                                     thenorth door exit and say

14   omething to
              to the
                 the security
                      securityguard
                               guardand
                                     andPlaintiff  observedthe
                                         Plaintiffobserved  thesecurity
                                                                securityguard
                                                                         guardthen  walk away
                                                                               then walk away and
                                                                                              and turn
                                                                                                  turn
15   he corner and leave
                   leavethe
                         the north doorexit
                             northdoor  exitand
                                             andnot
                                                 notenter
                                                     enterthe
                                                           thebank  to assist
                                                               bankto  assist Plaintiff.
                                                                              Plaintiff.
16
                8.
                8.   DOE 11 continued
                     DOE    continuedtotodemand
                                          demandthat
                                                 thatPlaintiff  fightDOE
                                                      Plaintifffight         DOE11then
                                                                      DOE1.1.DOE        shouted:"Come
                                                                                   thenshouted:  "Come
17
                ass whopping"
      atch this ass           and"you
                    whopping"and  "youdon't
                                       don'twant
                                            wantthis
                                                 thissmoke." DOE11then
                                                      smoke."DOE       approached Plaintiff and
                                                                   thenapproached
18
19    rabbed Plaintiff's
             Plaintiffs file. Plaintiff grabbed
                                        grabbedthe  fileback
                                                thefile       fromDOE
                                                         backfrom DOE11and DOE 11 shouted:
                                                                        andDOE    shouted: "this is my
                                                                                           "this is

20   ile," and "man,
      le," and "man, fuck
                     fuckthis!"
                          this!"DOE
                                DOE11then
                                      thenpunched
                                           punchedPlaintiff
                                                   Plaintiffwith    closedfist
                                                             withaaclosed  fiston
                                                                                onthe
                                                                                   theside ofPlaintiff:
                                                                                       sideof Plaintiff s
21
     ace. After
          After Plaintiff
                Plaintiffwas
                          waspunched  byDOE
                              punchedby  DOE1,1,Plaintiff
                                                 Plaintifflooked  forthe
                                                           lookedfor  thesecurity
                                                                          securityguard
                                                                                   guard and  the security
                                                                                         and the  security
22
      uard was still
        rd was       notin
               still not    thebank,
                         inthe  bank,and
                                      andwas
                                          wasalso
                                              alsonot
                                                   notoutside  observingfrom
                                                       outsideobserving       thenorth
                                                                         fromthe       exit. Plaintiff
                                                                                 north exit. Plaintiff
23
      ould              thesecurity
               observe the
        ld not observe      securityguard.
                                     guard.Plaintiff
                                            Plaintiffmade
                                                      madehis  waytotothe
                                                           hisway      theexit  ofthe
                                                                           exitof      bank and
                                                                                   thebank  and observed
                                                                                                observed thai
                                                                                                         that
24
25   he security
        security guard wasstanding
                 guardwas           outside,away
                           standingoutside,  awayfrom
                                                  fromthe
                                                       thenorth
                                                           northexit.  Plaintiffwas
                                                                 exit.Plaintiff     then approached
                                                                                wasthen  approached by

26   he security guard
                 guard and
                       andthe
                           thesecurity  guardadvised
                               securityguard  advisedPlaintiff
                                                      Plaintiffthat
                                                                thatDOE  wasatatthe
                                                                    DOE11was     the bank
                                                                                     bank prior
                                                                                          prior to the
27
     • nk opening and
        k opening     thesecurity
                  andthe  securityguard  wassuspicious
                                   guardwas  suspiciousbecause  DOE11shouting
                                                        becauseDOE    shouting"you
                                                                               "youstole my phone!"
                                                                                    stolemy phone!"
28


                                         COMPLAINT FOR DAMAGES
                                                       DAMAGES

                                                       -3-
                                                       -3-
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          e security guard
                     guardsaid  thathe
                           saidthat  he"tried               eyeon
                                                   keepananeye
                                        "triedtotokeep             himbecause
                                                                onhim  becausehe  seemedsuspicious
                                                                               heseemed             and that
                                                                                         suspicious and
 1
 2    e took a photo of
                     of him."
                        him."

 3                                                   CAUSE OF
                                             FIRST CAUSE      OF ACTION
                                                             All Defendants
                                                     Against All
                                         (Negligence Against     Defendants and
 4
                                                     through ZS,
                                             Does 1 through  25, inclusive.)
 5
               9.      Plaintiff refers
                       Plaintiff  refersto  paragraphs11through
                                         toparagraphs    through88above  andfully
                                                                   aboveand        incorporates them
                                                                             fullyincorporates   them hereto.
 6
 7             10.     Defendant, BOFA
                       Defendant, BOFAso
                                       sonegligently
                                          negligentlyowned
                                                      ownedand  operatedtheir
                                                            andoperated  theirbank,
                                                                              bank, negligently
                                                                                    negligently

 8    rovided security     thebank,
              securityatatthe  bank,and
                                     andso
                                         sonegligently
                                            negligentlyhired  andemployed
                                                        hiredand           security for
                                                                  employedsecurity  for the
                                                                                        the bank.
 9        efendant, BOFA failedto
                    BOFAfailed  touse  reasonablecare
                                   usereasonable           theoperation
                                                  careininthe  operationof
                                                                         oftheir bank, failed
                                                                            theirbank, failed to
                                                                                              to use
10
      easonable care in
            ile care     providingsecurity
                      inproviding  securityatattheir
                                                theirbank
                                                      bankand  failedtotouse
                                                           andfailed          reasonablecare
                                                                          usereasonable  carein
                                                                                              in the  hiring of
                                                                                                  the hiring
11
      ecurity for their bank.
12
13             11.     Defendant, G4Sso
                       Defendant, G4S sonegligently ownedand
                                        negligentlyowned      operatedtheir
                                                          andoperated  their security
                                                                              security company,
                                                                                       company,

14    egligently provided
                 providedsecurity      thebank,
                          securityatatthe  bank,and      negligentlyhired
                                                 andsosonegligently  hiredand  employed security
                                                                           andemployed   security officers.
                                                                                                  officers.
15   ID   efendant, G4S failed
                        failedtotouse
                                   usereasonable  careininthe
                                       reasonablecare          operationof
                                                           theoperation  ofsecurity,
                                                                            security,failed   to use
                                                                                      failed to  use reasonable
                                                                                                     reasonable
16
      are in providing
             providingsecurity
                       securityatatthe
                                    thebank
                                        bankand  failedtotouse
                                             andfailed      usereasonable  carein
                                                                reasonablecare     the hiring
                                                                                inthe  hiring of
                                                                                              of security
                                                                                                 security
17
                 the bank.
      fficers at the
18
19             12.               allegesthat
                       Plaintiff alleges
                       Plaintiff         thatthe
                                              theharm
                                                  harmcaused      Plaintiffordinarily
                                                       causedtotoPlaintiff  ordinarilywould
                                                                                      would not have happened
                                                                                            not have happened I

20    nless someone wasnegligent.
            someone was negligent.The
                                   Theharm  wascaused
                                       harmwas  causedby  somethingthat
                                                       bysomething  thatonly Defendants, and
                                                                         onlyDefendants, and each
21
      f them, controlled andPlaintiff's
              controlledand             voluntaryactions
                             Plaintiff'svoluntary actionsdid  notcause
                                                          didnot  causeor
                                                                        orcontribute
                                                                           contribute to
                                                                                       to the events that
                                                                                          the events
22
      armed Plaintiff.
            Plaintiff. As
                       Asaaresult,  Plaintiffalleges
                            result,Plaintiff  allegesDefendants,
                                                      Defendants,and  eachof
                                                                  andeach  ofthem,
                                                                              them,are
                                                                                    are liable  under the
                                                                                         liable under
23
                  Loyuitor.
24 heory Res Ipsa Loquitor.
25             13.
               13.     As aa direct
                             directand  proximateresult
                                    andproximate  resultof
                                                         ofthe  aforesaidnegligence
                                                            theaforesaid  negligenceDefendants,
                                                                                    Defendants,and  each of
                                                                                                and each of I
26 hem, Plaintiff sustained
                  sustainedspecial
                            specialdamages  andeconomic
                                    damagesand  economiclosses,  aswell
                                                         losses,as      asgeneral
                                                                   wellas general damages,
                                                                                  damages,
27
     ncluding damages for
                      for pain, suffering and emotional
                          pain, suffering     emotional distress.
28


                                           COMPLAINT FOR DAMAGES
                                                         DAMAGES

                                                         -4-
                                                         -4-
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                                                   CAUSE OF
                                         SECOND CAUSE      OF ACTION
                                                                ACTION
 1
                                 Inflictionof
                    (Intentional Infliction
                    (Intentional            ofEmotional DistressAgainst
                                              EmotionalDistress   Against all Defendants and
                                                                          all Defendants
 2                                        Does 1 through 25,
                                                         25, inclusive.)
                                                             inclusive.)

 3            14.
              14.             refers to paragraphs
                    Plaintiff refers                  through 13
                                        paragraphs 11 through    and by
                                                              13 and by such
                                                                        such reference incorporates them
                                                                             reference incorporates them
 4
     erein.
 5
              15.
              15.   Defendants' conduct
                    Defendants'         was outrageous
                                conduct was            andDefendants
                                            outrageous and Defendants intended     cause emotional
                                                                       intended to cause emotional
 6
      stressto Plaintiff
     istress             and/orDefendants
               Plaintiffand/or Defendantsacted
                                          actedwith   recklessdisregard
                                               withaareckless  disregard of
                                                                         of the
                                                                             the probability that
                                                                                 probability that
 7
 8 I' laintiff
       aintiff would sufferemotional
               would suffer emotionaldistress,
                                      distress,knowing
                                                knowingthat  Plaintiffwas
                                                        thatPlaintiff     present when
                                                                      was present when DOE 1 was
                                                                                             was

 9 hreatening Plaintiff
              Plaintiffand
                        and failing andrefusing
                             failingand          torespond,
                                        refusingto  respond,assist
                                                             assistor protect Plaintiff.
                                                                   or protect Plaintiff.
10
10
              16.
              16.   The conduct
                        conductof Defendantswas
                                ofDefendants       substantialfactor
                                             wasaasubstantial  factorinincausing Plaintiffs severe
                                                                          causingPlaintiff's severe
11
11
              distress.
     motional distress.
12
12
13
13            17.
              17.              is informed
                    Plaintiff is
                    Plaintiff      informedand
                                            andbelieves
                                                believesthat  theDefendants'
                                                         thatthe              conduct toward
                                                                  Defendants' conduct  toward Plaintiff
                                                                                              Plaintiff was
                                                                                                        was

14
14   one maliciouslyand
                    andintended
                        intendedto  causeinjury
                                 tocause  injuryto
                                                 toPlaintiff
                                                   Plaintiffand
                                                             andwith    conscious disregard
                                                                with aa conscious disregard to
15
15 I ' laintiff
        aintiff s rightsand safety,
                s rights            entitling Plaintiff
                            safety, entitling Plaintiff to punitive
                                                           punitive damages.
                                                                    damages.
16
16
         WHEREFORE,Plaintiff
         WHEREFORE,          praysjudgment
                    Plaintiffprays judgmentagainst Defendants,and
                                            againstDefendants,and each
                                                                  each of
                                                                       of them
                                                                          them as
                                                                               as follows:
17
17
      IRST CAUSE OF ACTION
18
18
19
19            1.
              1.    Special
                    Special and
                            and economic
                                economic damages
                                         damages according  to proof;
                                                 according to  proof;

20
20            2.    General and non-economic
                    General and non-economic damages
                                             damages according
                                                     according to
                                                               to proof;
                                                                  proof;
21
21
              3.    Incidental damages according
                    Incidental damages according to proof;
                                                    proof;
22
22
              4.    Costs of suit
                    Costs    suit according
                                  according to proof;
                                               proof; and
                                                      and
23
23
              5.    Suchother
                        other and  furtherrelief
                              and further  reliefas
                                                 as the
                                                     thecourt
                                                         courtdeems
                                                              deems just
                                                                     just and
                                                                          and proper.
                                                                              proper.
24
24
25
25   //
26
26 V//
27
27
28
28


                                       COMPLAINT FOR DAMAGES
                                       COMPY,AIIVT   DAMAGES

                                                     -5-
                                                     -5-
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                                         #:17



     ECOND CAUSE
           CAUSE OF
                 OF ACTION
 1

 2       1.     Special and economic
                Special and          damages according
                            economic damages           to proof;
                                             according to proof;

 3       2.             and non-economic
                General and
                General     non-economic damages
                                         damagesaccording  to proof;
                                                 according to proof,
 4
         3.     Incidental
                Incidental damages
                           damages according to proof;
 5
         4.     Punitive damages;
 6

 7       5.     Costs
                Costs of suit according
                      of suit according to proof; and

 8       6.     Such other
                Such       and further
                     other and  further relief as the
                                        relief as  thecourt
                                                       courtdeems
                                                            deems just
                                                                   just and proper.

 9

10    TED: -October
     ATED: October 28, 2020                             Respectfully submitted,

11                                                      KNEZ LAW GROUP, LLP _~ .
                                                                                  _~--""`~

12
13                                                      By:      r
                                                                     REW J. KNEZ
14                                                      Aa~rney for Plaintiff JACOB LEE
                                                        GAMBLE
15
16
17
18
19
20
21
22
22
23
24
25
26
27
28


                                    COMPI,AINT FOR DAMAGES
                                    COMPLAINT

                                                 -6-
                                                 -6-
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                        SUPERIOR COURT OF
                                       OF CALIFORNIA,      COUNTY OF
                                           CALIFORNIA,COUNTY      OF RIVERSIDE
                                                                     RIVERSIDE
                                          4050 Main Street
                                        Riverside, CA
                                        Riverside, CA 92501
                                     www.riverside.courts.ca.gov
                                     www.riverside. courts.ca.gov

                      NOTICE OF
                      NOTICE OF DEPARTMENT
                                DEPARTMENT ASSIGNMENT  FORALL
                                             ASSIGNMENTFOR ALL PURPOSES
                                                               PURPOSES
                         AND NOTICE          MANAGEMENT CONFERENCE
                              NOfICE OF CASE MANAGEMENT  CONFERENCE

     GAMBLE VS BANK
               BANK OF AMERICA CORPORATION
                    OF AMERICA

                                                              CASE NO. RIC2004308
                                                                       RIC2004308

                is assigned
     This case is  assignedtotothe
                                theHonorable JudgeCarol
                                   HonorableJudge  CarolAAGreene      Department 02
                                                           GreeneininDepartment      for ali
                                                                                 02 for  all
     purposes, including trial.

     The Case
         Case Management
              ManagementConference
                         Conferenceisisscheduled  for04/27/21
                                        scheduledfor               8:30in
                                                      04/27/21atat8:30     Department 02.
                                                                        in Department


           plaintiff/cross-complainant shall
      The plaintiff/cross-complainant  shall serve    copy of
                                             serve aa copy  of this
                                                               this notice  on all
                                                                    notice on
      defendants/cross-defendants who
      defendants/cross-defendants    whoare    namedor
                                           arenamed        addedtotothe
                                                        oradded       thecomplaint   andfile
                                                                           complaintand       proof of
                                                                                         file proof
      service.

                              pursuanttotoCCP
           disqualificationpursuant
      Any disqualification                 CCPSection
                                                  Section170.6          befiled
                                                                  shallbe
                                                           170.6 shall                 accordance with
                                                                            filedininaccordance       with that
                     court follows
      section. The court    followsCalifornia   Rulesof
                                     CaliforniaRules   ofCourt,        3.1308(a)(1)
                                                                 Rule3.1308(a)
                                                          Court,Rule                       for tentative
                                                                                      (1) for  tentative
                   RiversideSuperior
      rulings (see Riverside     SuperiorCourt
                                           CourtLocal
                                                  LocalRule
                                                        Rule3316).                  Rulings for
                                                                      TentativeRulings
                                                               3316).Tentative                     each law
                                                                                               for each
      and motion   matterare
           motion matter         postedon
                            areposted    onthe                3:00pm
                                                          by3:00
                                                 Internetby
                                             theInternet           pmon         courtday
                                                                           thecourt
                                                                       onthe            day immediately
                                                                                               immediately
      before the hearing
                 hearingat   at<http://www.riverside.co   urts.ca.aov/tentativerulings.shtml>. If
                                <http://www.riverside.courts.ca.00v/tentativerulinqs.shtml>.           If you
      do not have
              have internet    access,you
                    Internetaccess,     youmay    obtainthe
                                            mayobtain    thetentative
                                                              tentativeruling
                                                                        rulingby     telephone at
                                                                                by telephone
      (760)904-5722.

      To request oral
                    oral argument,
                          argument,notnotlater        4:30pm
                                                than4:30
                                          laterthan           onthe
                                                           pmon  thecourt
                                                                      courtday
                                                                            daybefore
                                                                                 beforethethehearing
                                                                                             hearing you
                                                                                                      you
      must (1) notify
                 notify thejudicial
                         the judicialsecretary
                                      secretaryat   (760)904-5722and
                                                 at(760)904-5722    and(2)  informall
                                                                        (2)inform       otherparties.
                                                                                   allother   parties. If
      no request forfor oral argumentisismade
                        oral argument      madeby     4:30pm,
                                                  by4:30           tentativeruling
                                                               thetentative
                                                           pm,the                   will become
                                                                             rulingwill  become the
      final ruling on the matter   effective the date of the hearing.
                            matter effective

      Requests for
                for accommodations
                    accommodationscan  canbe   madeby
                                            bemade   bysubmitting   JudicialCouncil
                                                         submittingJudicial  Councilform
                                                                                     form MC-410
                                                                                          MC-410
      no fewer than
               than five
                     five coun:
                          courtdays
                                days before  thehearing.
                                     beforethe   hearing.See
                                                          SeeCalifornia
                                                             CaliforniaRules
                                                                         Rules of
                                                                               of Court,
                                                                                  Court, rule
      1.100.

                                               CERTIFICATE OF MAILING

    I certify   that II am
       certify that            currently employed
                         amcurrently       employed by  by the    Superior Court
                                                            the Superior     Court of California,    County of
                                                                                        California, County
    Riverside, and
    Riverside,    andthatthatI Iam
                                 amnot       partytoto this
                                      notaa party       this action      proceeding. In
                                                             actionororproceeding.      In my                 am
                                                                                                 capacity, II am
                                                                                           my capacity,
    familiar   with the
    familiar with           practices and
                      the practices       and procedures
                                                proceduresused  usedinin connection
                                                                           connectionwith with the
                                                                                                the mailing
                                                                                                     mailing of
    correspondence. Such
    correspondence,                correspondenceisisdeposited
                           Such correspondence             depositedininthetheoutgoing    mail of
                                                                               outgoingmail     of the Superior
                                                                                                        Superior
    Court.
    Court. Outgoing        mail is
               Outgoing mail          delivered to
                                  is delivered        and mailed
                                                  to and    mailed by    theUnited.
                                                                    by the    United. States   Postal Service,
                                                                                       States Postal    Service,
    postage prepaid,
    postage    prepaid,the       sameday
                           thesame      dayininthe
                                                 theordinary
                                                      ordinarycourse  ofofbusiness.
                                                                 course      business.II certify
                                                                                          certify that    served
                                                                                                  that I served
    a copy of the   foregoingNOTICE
               the foregoing    NOTICEon   onthis        bydepositing
                                                   date,by
                                              thisdate,                 saidcopy
                                                            depositingsaid   copyas   stated above.
                                                                                   asstated  above.

                                                                    Court Executive Officer/Clerk


          11/02/20
    Date: 11/02/20                                            by:
                                                                     C
                                                                            PPA-Q"--
                                                                            TINA qNAKAGA
                                                                            TINA   NAKAGA           , Deputy Clerk
   cd.cx
   cdnemc
   1218119
   17/8119
           Case 5:20-cv-02636-JLS-SHK                 Document 2-1           Filed 12/23/20        Page 10 of 12 Page
                                                           ID #:19

                                                                                                           RI-ADR001-INFO
                 ~C"L Oi ►
                          hP
               4    •
              h'            a~
             ~               ~A
                              A

                                                    COURT OF
                                        SUPERIOR COURT        OF CALIFORNIA,
                                                                   CALIFORNIA,COUNTY COUNTY OF  OF RIVERSIDE
                                                                                                    RIVERSIDE
                                                           www.riverside.courts.ca
                                                           www.riverside.courts.ca.gov .qov
                                                    parties: http://riverside.courts.ca.gov/selfhelp/self-help.shtml
                                   Self-represented panties:
                                   Self-represented          http://riverside.courts.ca.gov/selfhelp/self-help.shtml

                                       ALTERNATIVE DISPUTE RESOLUTION
                                       ALTERNATIVE DISPUTE            (ADR) —
                                                           RESOLUTION (ADR)
                                                            PACKAGE
                                              INFORMATION PACKAGE


                                     PLAINTIFF MUST
                             *** THE PLAINTIFF MUSTSERVE
                                                    SERVETHIS
                                                          THISINFORMATION
                                                               INFORMATION PACKAGE
                                                                             PACKAGE
                                      ON EACH PARTY WITH
                                                     WITH THE
                                                          THE COMPLAINT.
                                                               COMPLAINT. ***
             What is
             What  is ADR?
                      ADR?
             Alternative DisputeResolution
             AlternativeDispute  Resolution(ADR)
                                             (ADR) is
                                                    is aa way
                                                          way of
                                                               of solving
                                                                  solvinglegal
                                                                          legal disputes
                                                                                disputes without
                                                                                         without going
                                                                                                 going to
                                                                                                       to trial.
                                                                                                          trial.
             The main
                  main types     mediation, arbitration,
                       types are mediation, arbitration,andand settlement
                                                               settlement conferences.
                                                                           conferences.
             Advantaaes
             AdvantaaesofofADR:
                           ADR:
                 Faster: ADR
              s Faster:  ADRcan
                              canbe
                                  bedone
                                      doneininaa 1-day
                                                  1-daysession
                                                         sessionwithin   months after
                                                                  withinmonths    after filing     complaint.
                                                                                               the complaint.
                                                                                        filingthe
              • Less
              ~  Less expensive: Parties
                                  Parties can
                                           can save
                                                save court   costsand
                                                       courtcosts  andattorneys'
                                                                        attorneys' and
                                                                                    and witness
                                                                                         witness fees.
                                                                                                   fees.
                 More control:
              . More  control: Parties
                               Parties choose    their ADR process
                                       choosetheir          process and
                                                                      and provider.
                                                                           provider.
              ~ Less
              4  Less stressful: ADR is
                      stressful: ADR  is done
                                         doneinformally
                                               informallyinin private
                                                              private offices,
                                                                      offices, not public courtrooms.
                                                                               not public   courtrooms.
             pisadvantaaes
             AisadvantaaesofofADR:
                                ADR:
               ~   No public
                   No public trial: Parties do not
                                    Parties    not get a decision
                                                         decision by
                                                                  by aa judge
                                                                        judge or
                                                                               or jury.
                                                                                  jury.
               •
               ~   Costs: Parties
                   Costs: Partiesmaymayhave
                                         haveto
                                              topay
                                                payfor
                                                     forboth  ADR and litigation.
                                                         bothADR   and   litigation.

             Main Types of ADR:
             Mediation: In In
             Mediation:     mediation,
                              mediation,the
                                          themediator
                                              mediatorlistens
                                                       listenstoto each
                                                                   each person's
                                                                        person'sconcerns,      helps them
                                                                                   concerns,helps     them
               evaluate the strengthsand
               evaluate                   andweaknesses
                                               weaknessesof oftheir
                                                               theircase,
                                                                     case,and
                                                                           andworks
                                                                                workswith
                                                                                        withthem   to create
                                                                                             them to  create a
               settlementagreement
               settlement   agreementthatthatis
                                              isacceptable
                                                 acceptabletotoeveryone.
                                                                everyone. If
                                                                           If the parties do not
                                                                              the parties     not wish
                                                                                                  wish to settle
                                                                                                          settle
               the
               the case,
                   case, they
                          theygo
                               go to
                                  to trial.
                                     trial.
             Mediation may
             Mediation may be
                            be appropriate  when the
                               appropriatewhen    the parties:
                                                      parties:
              •
              ,r_   want
                    want to work
                            work out
                                 out a
                                     a  solution
                                       solution  but
                                                but  need
                                                    need   helpfrom
                                                           help  fromaaneutral
                                                                        neutral person;
                                                                                person; or
                                                                                         or
              t    have
                   have communication     problems or
                         communicationproblems       or strong
                                                        strongemotions
                                                                emotionsthat
                                                                          thatintenfere
                                                                               interfere with
                                                                                         with resolution;
                                                                                              resolution; or
                                                                                                          or
               •
              1-1  have
                   haveaa continuing   business or
                           continuingbusiness    or personal  relationship.
                                                    personalrelationship.

             Mediation is
             Mediation    not appropriate
                       is not appropriate when
                                          when the
                                               the parties:
                                                    parties:
              ~     want their
                    want       public "day
                          theirpublic "dayin
                                           incourt"
                                             court"or
                                                    oraajudicial
                                                         judicialdetermination
                                                                  determinationon
                                                                                onpoints
                                                                                  points of
                                                                                         of law
                                                                                             law or
                                                                                                 or fact;
                                                                                                    fact;
              ~     lack equal bargaining
                    lack equal bargaining power
                                           power or
                                                 orhave
                                                     have aa history
                                                             historyof
                                                                     ofphysical/emotional
                                                                       physical/emotional abuse.
                                                                                          abuse.
             Arbitration:
             Arbitration:  Arbitration
                            Arbitration is
                                         isless
                                             lessformal
                                                  formalthan           but like
                                                           than trial, but  liketrial,
                                                                                 trial,the
                                                                                        theparties
                                                                                            partiespresent
                                                                                                     present evidence
                                                                                                               evidence and
                                                                                                                         and
                arguments
                arguments     to the  person
                                     person    who
                                               who  decides
                                                    decides     the
                                                               the  outcome.
                                                                    outcome.    In
                                                                               In  "binding"
                                                                                   "binding"   arbitration
                                                                                              arbitration   the
                                                                                                           the  arbitrator's
                                                                                                                arbitrator's
                decision
                decisionis isfinal;
                              final;there
                                     thereisisno
                                               noright
                                                  righttototrial.
                                                            trial.In
                                                                   In"non-binding"
                                                                      "non-binding"arbitration,
                                                                                        arbitration,any
                                                                                                     anyparty
                                                                                                         partycancan request
                                                                                                                     request
                a trial after
                        after the
                              the arbitrator's
                                  arbitrator'sdecision.
                                                decision. TheThe court's
                                                                   court'smandatory
                                                                           mandatory Judicial
                                                                                          Judicial Arbitration
                                                                                                   Arbitration program
                                                                                                                 program isis
                non-binding.
                non-binding.




                                                                                                                        Page 1 of 2
                                                                                                                           e1of2

Adopted  for Mandatory
Adoptedfor   Mandatory Use
Riverside Superior
Riverside Superior Court
                   Court
RI-ADR001-INFO[Rev.
RI-ADR0o1-INFO   [Rev.01/Ol/12]
                       01/01/12]
(Reformatted06/01/16)
(Reformatted  06/01/16)
            Case 5:20-cv-02636-JLS-SHK             Document 2-1          Filed 12/23/20        Page 11 of 12 Page
                                                        ID #:20


    Arbitration may be aapropriate
    Arbitrationmav     appropriate when
                                      when the
                                            the parties:
                                                parties:
     ,
     ~W     want to
                 to avoid
                    avoid trial,
                          trial,but
                                 butstill
                                     stillwant
                                          wantaaneutral
                                                 neutralperson
                                                         personto
                                                                todecide
                                                                   decidethe
                                                                          theoutcome
                                                                             outcome of
                                                                                     of the
                                                                                        the case.
                                                                                            case.
    Arbitration   not aparoariate
    Arbitrationis not appropriate when
                                  when thethe parties:
                                              garties:
     ~      do          to risk
            do not want to riskgoing
                                goingthrough
                                       throughboth
                                                 botharbitration
                                                        arbitrationand
                                                                    andtrial
                                                                          trial(Judicial
                                                                                (Judicial Arbitration)
                                                                                          Arbitration)
     ~      do not
               not want to
                        to give up
                                up their
                                    their right
                                          right to
                                                to trial
                                                   trial (binding
                                                          (binding arbitration)
                                                                   arbitration)
    Settlement Conferences:
    Settlement  Conferences: Settlement     conferences are
                                Settlementconferences     aresimilar
                                                               similarto
                                                                       tomediation,
                                                                          mediation, butbut the
                                                                                             the settlement
                                                                                                 settlement officer
                                                                                                            officer
       usually tries to
       usuallytries  to negotiate
                        negotiatean
                                  anagreement
                                     agreementby bygiving
                                                    givingstrong
                                                            strongopinions
                                                                   opinionsabout
                                                                               aboutthe
                                                                                      thestrengths
                                                                                           strengthsand
                                                                                                      andweaknesses
                                                                                                         weaknesses
       of     case, its
       of the case,  itsmonetary
                         monetaryvalue,
                                  value,and
                                         andthe
                                              theprobable
                                                  probableoutcome
                                                             outcomeatattrial.
                                                                          trial.Settlement
                                                                                 Settlement conferences
                                                                                              conferences often
                                                                                                           often
       involve attorneys more
       involveattorneys   morethan
                                thanthe
                                     theparties
                                         partiesand
                                                 andoften
                                                     often take
                                                            takeplace
                                                                 place close
                                                                        close toto the
                                                                                   the trial
                                                                                       trial date.
                                                                                             date.
                      RIVERSIDE COUNTY
                      RIVERSIDE    COUNTY SUPERIOR
                                              SUPERIOR COURT
                                                           COURT ADR  ADR REQUIREMENTS
                                                                             REQUIREMENTS
  ADR Information
      Information and
                  andforms
                      formsare
                            areposted
                                postedon
                                       onthe
                                          theADR
                                              ADRwebsite:
                                                  website:httn://riverside.courts.ca.qov/adr/adr.shtml
                                                           htto://riverside.courts.ca.gov/adr/adr.shtml
  General Policv:
  General  Policy:
    Parties     most general
    Partiesin most    generalcivil
                               civilcases
                                     casesare
                                            areexpected
                                                expectedto
                                                         toparticipate
                                                            participateininan
                                                                            anADR
                                                                                ADRprocess
                                                                                      process before
                                                                                              before requesting
                                                                                                     requesting a
    trial      and to
    trial date and  to participate
                       participateininaasettlement
                                         settlementconference
                                                    conferencebefore
                                                               beforetrial.
                                                                        trial. (Local
                                                                               (Local
    Rule
    Rule 3200)
 Court-Ordered ADR:
 Court-Ordered ADR:
   Certain cases
           cases valued
                  valuedat
                         atunder
                            under$50,000
                                  $50,000may
                                          maybe
                                              beordered
                                                  orderedtotojudicial
                                                               judicialarbitration
                                                                        arbitrationor
                                                                                    ormediation.
                                                                                      mediation. This
                                                                                                 This order
                                                                                                      order is
                                                                                                            is
   usually
   usuallymade atat the
                    the Case
                        CaseManagement
                             Management Conference.
                                          Conference. See
                                                        See the
                                                             the "Court-Ordered
                                                                  "Court-Ordered
   Mediation Information Sheet"
   MediationInformation   Sheet"on
                                on the
                                    the ADR
                                        ADR website
                                            website for
                                                     for more
                                                         more information.
                                                               information.
 Private ADR (for
 Private      (for cases
                   cases notordered
                               ordered to to arbitration
                                             arbitration or
                                                         or mediation):
                                                            mediation):
    Parties scheduleand
    Parties schedule  andpaypayfor
                                fortheir
                                    theirADR
                                           ADRprocess
                                                processwithout
                                                         withoutCourt
                                                                   Courtinvolvement.
                                                                          involvement. Parties
                                                                                        Parties may
                                                                                                may schedule
                                                                                                    schedule
    private ADR at
    privateADR   at any
                    any time;
                         time;there
                               thereisisno
                                         noneed
                                            needtotowait
                                                     waituntil
                                                          untilthe
                                                                theCase
                                                                    CaseManagement
                                                                           ManagementConference.
                                                                                         Conference. See the
                                                                                                         the
    "Private Mediation Information
    "PrivateMediation   InformationSheet"
                                     Sheet"on onthe
                                                 theADR
                                                     ADRwebsite
                                                           websitefor
                                                                    formore
                                                                         more information.
                                                                               information.
 BEFORE THETHE CASE
                  CASE MANAGEMENT
                          MANAGEMENTCONFERENCE CONFERENCE(CMC),    (CMC),ALL
                                                                           ALLPARTIES
                                                                                 PARTIES MUST:
                                                                                             MUST:
  1.
  1. Discuss
      DiscussADRADRwith
                      withallall parties at least
                                  partiesat least 30
                                                  30 days
                                                      days before
                                                            before the
                                                                     theCMC.
                                                                         CMC. Discuss:
                                                                                Discuss:
        • Your
        ~         preferences for
           Your preferences        for mediation
                                       mediation or
                                                 or arbitration.
                                                    arbitration.
       ,• Your schedule
                  schedule for  fordiscovery
                                    discovery(getting
                                              (gettingthe
                                                       theinformation
                                                            informationyouyouneed)
                                                                               need)totomake
                                                                                          makegood
                                                                                                good decisions
                                                                                                      decisions about
                                                                                                                   about
           settling      case at
           settlingthe case       at mediation
                                     mediation or
                                               or presenting
                                                  presenting your
                                                                your case
                                                                      case at
                                                                           at an
                                                                              an arbitration.
                                                                                  arbitration.
  2. File the attached
               attached "Stipulation
                            "Stipulationfor
                                          forADR"
                                              ADR"along
                                                     alongwith
                                                            withthe
                                                                  theCase
                                                                       CaseManagement
                                                                             ManagementStatement,
                                                                                             Statement, ifif all
                                                                                                             all parties
                                                                                                                 parties can
                                                                                                                         can
      agree.
      agree.
  3. Be prepared
          prepared toto tell
                         tell the
                               thejudge
                                    judgeyour
                                          yourpreference
                                               preferencefor formediation
                                                                 mediationororarbitration
                                                                                arbitrationand
                                                                                            andthe
                                                                                                 the date
                                                                                                     date when
                                                                                                            when you
                                                                                                                   you
      could complete it.
      couldcomplete     it.
                                                    (Local  Rule 3218)
                                                    (LocalRule

 RIVERSIDE COUNTY ADR PROVIDERS INCLUDE:   INCLUDE:
  ,• The Court's
         Court's Civil
                  CivilMediation
                       MediationPanel
                                  Panel(available
                                        (availablefor
                                                    forboth
                                                        bothCourt-Ordered
                                                             Court-OrderedMediation
                                                                              Mediationand andPrivate
                                                                                                 Private Mediation).
                                                                                                         Mediation).
     See httg://adr.riverside.courts.ca.gov/civil/panelist.ph_p
         http://adrriverside.courts.ca.govicivil/panelist.php or ask for
                                                                     for the
                                                                         the list
                                                                             list in
                                                                                   in the
                                                                                      the civil
                                                                                          civil clerk's
                                                                                                clerk's office,
                                                                                                        office, attorney
                                                                                                                attorney
     window.
     window.
  , Riverside  County ADR
     RiversideCounty    ADR providers
                             providersfunded
                                       fundedby byDRPA
                                                   DRPA(Dispute
                                                           (DisputeResolution
                                                                    Resolution Program
                                                                                 Program Act):
                                                                                            Act):
     Dispute ResolutionService
     DisputeResolution    Service(DRS)
                                  (DRS)Riverside
                                         RiversideCounty
                                                     CountyBar
                                                             BarAssociation:
                                                                  Association: (951)
                                                                                (951) 682-1015
                                                                                        682-1015
     Dispute Resolution Center,
     DisputeResolution    Center,Community
                                  CommunityAction
                                               ActionPartnership
                                                       Partnership(CAP):
                                                                   (CAP): (951)
                                                                           (951) 955-4900




                                                                                                                   Page 2 of 2
Adopted
AdoptedforforMandatory
             MandatoryUseUse
Riverside  Superior Court
RiversideSuperior   Court
RI-ADR001-INFO    [Rev.01/01/12)
RI-ADR001-iNFO [Rev.    01/01/12]
(Reformatted  06/01/16)
(Reformatted06/01/16)
         Case 5:20-cv-02636-JLS-SHK                               Document 2-1               Filed 12/23/20          Page 12 of 12 Page
                                                                       ID #:21



                                         SUPERIOR COURT OF CALIFORNIA,
                                                  COURT OF CALIFORNIA,COUNTY  OF RIVERSIDE
                                                                       COUNTY OF RIVERSIDE
❑
0     BLYTHE     N. Broadway,
      BLYTHE 265 N.           Blythe,CA 92225
                    Broadway,Blythe,                                           ❑
                                                                               ❑   MURRIETA          Auld Rd., Murrieta,
                                                                                   MURRIETA 30755-D Auld        Murrieta, CA 92563
❑❑    CORONA 505 S.               Rm. 201,
                  S. Buena Vista, Rm.       Corona, CA 92882
                                      201, Corona,                             ❑
                                                                               0                       Tahquitz Canyon
                                                                                   PALM SPRINGS 3255 Tahquitz             Way, Palm
                                                                                                                 Canyon Way,        Springs, CA 92262
                                                                                                                               Palm Springs,
o
❑             VALLEY 13800 Heacock St.
      MORENO VALLEY                    St. #D201,
                                           #0201, Moreno
                                                  Moreno Valley,
                                                         Valley,               ❑
                                                                               0   RIVERSIDE
                                                                                   RIVERSIDE 4050
                                                                                             4050 Main      Riverside, CA
                                                                                                       St., Riverside,
                                                                                                  Main St.,            CA 92501
                                                          CA
                                                          CA 92553
                                                             92553                                                                                  RI-ADRODI
                                                                                                                       FUR COURI t)St• ONLY
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name,
                                   (Name, Stale
                                          Slale Bar Number and Address)
                                                8ar Number     Address)




            TELEPHONE NO:                                 FAX NO. (Optional)
                                                                  (OpGonal)

E-MAIL
E-MAIL ADDRESS (Optional):
               (Optiona/):

     ATTORNEY FOR (Name):
                  (Name):



        PLAINTIFFlPETITIONER:
        PLAINTIFF/PETITIONER:

                                                                                                          CASE NUMEEH:


  DEFENDANT/RESPONDENT:
  DEFENDANT/RESPONDENT:
                                                                                                          CASE MANAGEMENT CONFERENCE DATE(S):
                                                                                                          CASE MANAGEMENT            DATE(S):



                                      STIPULATION
                                      STIPULATION FOR ALTERNATIVE DISPUTE
                                                  FOR ALTERNATIVE DISPUTE RESOLUTION
                                                                          RESOLUTION (ADR)
                                                     (CRC 3.2221; Local
                                                     (CRC 3.2221; LocalRule,
                                                                        Rule, Title    Division2)
                                                                              Title 3, Division 2)

      Court-Ordered ADR:
      Court-Ordered     ADR:
      Eligibilityfor
      Eligibility forCourt-Ordered   Mediationor
                      Court-OrderedMediation       JudicialArbitration
                                                orJudicial            will
                                                            Arbitration   bebe
                                                                        will determined atatthe
                                                                               determined         CaseManagement
                                                                                              theCase Management
      Conference.
      Conference. IfIfeligible,
                       eligible,the
                                 theparties agreeto
                                    partiesagree    participatein:
                                                  toparticipate in:
         ❑ Mediation
         O Mediation                       ❑   Judicial
                                           0 Judicial  Arbitration
                                                      Arbitration  (non-binding)
                                                                  (non-binding)

      PrivateADR:
      Private
                     not eligible
      If the case is not eligiblefor  Court-OrderedMediation
                                  forCourt-Ordered   Mediationor
                                                               orJudicial
                                                                  JudicialArbitration,
                                                                           Arbitration,the
                                                                                        theparties  agree to
                                                                                            partiesagree     participate in
                                                                                                          to participate in the
                                                                                                                            the
      following
      following ADR
                ADR process,           they will
                      process, whichthey    willarrange
                                                 arrange and pay for
                                                         and pay     without court
                                                                 for without court involvement:
                                                                                    involvement:
         ❑❑ Mediation
            Mediation                      ❑
                                           0 Judicial  Arbitration
                                                      Arbitration
                                               Judicial            (non-binding)
                                                                  (non-binding)
         ❑ Binding
         O BindingArbitration
                   Arbitration             ❑  Other
                                           0 Other  (describe):
                                                   (describe):

      Proposed      to complete
               date to
      Proposed date    complete ADR:
                                ADR:

     SUBMIT THIS FORM
     SUt3MIT     FORM ALONG WITHTHE
                      ALONGWITH     CASE MANAGEMENT
                                THE CASE MANAGEMENTSTATEMENT.
                                                    STATEMENT.


                (PRINT NAME
                       NAME OF PARTY
                               PARTY OR
                                     OR ATTORNEY)                              (SIGNATURE OF
                                                                                          OFPARTY
                                                                                             PARTY OR
                                                                                                   OR ATTORNEY)
                                                                                                      ATTORNEY)                         (DATE)
                ❑
                O     Plaintiff 0❑Defendant
                      Plaintiff       Defendant



                (PRINT NAME
                       NAME OF PARTY
                                PARTY OR
                                      OR ATTORNEY)
                                         ATTORNEY)                             (SIGNATURE OF
                                                                                          OF PARTY
                                                                                             PARTY OR
                                                                                                   OR ATTORNEY)
                                                                                                      ATTORNEY)                          (DATE)
                ❑
                O     Plaintiff
                      Plaintiff   0
                                  ❑     Defendant
                                        Defendant



                (PRINT NAME
                       NAME OF
                            OF PARTY
                                PARTY OR
                                      OR ATTORNEY)
                                         ATTORNEY)                             (SIGNATURE OF
                                                                                          OF PARTY
                                                                                             PARTY OR
                                                                                                   OR ATTORNEY)
                                                                                                      ATTORNEY)                         (DATE)
                ❑
                O     Plaintiff 0❑Defendant
                      Plaintiff         Defendant



                (PRINT NAME OF PARTY
                                PARTY OR
                                      OR ATTORNEY)
                                         ATTORNEY)                             (SIGNATURE OF
                                                                                          OF PARTY
                                                                                             PARTY OR
                                                                                                   OR ATTORNEY)
                                                                                                      ATTORNEY)                         (DATE)
                 ❑
                 O    Plaintiff
                      Plaintiff   0
                                  ❑     Defendant
                                        Defendant



                                                                                                                                                     Page1 of 1
                                                                                                                                                     Page
Adopted  for Mandatory Use
AdoptedforMandator7lUsa                                                                                                                               Statutory Authority
                                                                                                                                                      Statulory Authority
Riverside
RiversideSuperior  Court
          SuperiorCou   rt
                                               ALTERNATIVE DISPUTE RESOLUTION
                                               ALTERNATIVE                                                ~            riverside.courts.ca.govilocalfrrnsdocalfrms.shtml
                                                                                                                       riverside.courts.oa.gov/localfmsllocalfrms.shtml
Form  RI-ADR001 (Rev.
FormRl-ADROo1             01/01/12)
                  (Rev.o1ro1112)                     (ADR) STIPULATION
                                                           STIPULATION
(Reformatted  06/01/16)
(Reformat(ed06101/16)                                                                                 •
